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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                           UNITED STATES DISTRICT COURT                             January 08, 2020
                            SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                HOUSTON DIVISION

RAVEL FERRERA-PARRA,                           §
                                               §
        Plaintiff,                             §
VS.                                            §   4:19-CV-1053
                                               §
UNITED AIRLINES, INC.,                         §
                                               §
        Defendant.                             §

                                           ORDER

       A Motion Hearing shall take place before:
                                  Judge Dena Hanovice Palermo
                              Tuesday, January 14, 2020, at 2:00 pm
                                   in Courtroom 702 (7th Floor)
                                     United States Courthouse
                                         515 Rusk Street
                                       Houston, TX 77002
       Each party must appear by an attorney with (a) full knowledge of the facts and (b)
authority to bind the client. Counsel are to consult among themselves well in advance and
exchange relevant documents in the case.
       The Court will consider any motions, narrow issues, inquire about expected motions, and
schedule discovery.
       The Court will allow participation by telephone. Parties must request this from the case
manager in advance of the hearing.
       To ensure full notice, whoever receives this notice must confirm that every other party
knows of the setting.
       Signed on January 8, 2020, at Houston, Texas.


                                               ___________________________________
                                                        Dena Hanovice Palermo
                                                      United States Magistrate Judge




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